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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 18-cv-02969-LTB

STEPHEN JOHN NALTY aka STEPHEN-JOHN: NALTY,

       Applicant,

v.

[NO RESPONDENT NAMED],

       Respondent.


                                      MINUTE ORDER

ENTERED BY SENIOR JUDGE LEWIS T. BABCOCK

       Applicant Stephen John Nalty filed a document titled “Conditional Offer of Treaty
of Peace” (ECF No. 6) 1. To the extent Applicant seeks relief from the Court, such
request is DENIED as moot. The Court entered an Order of Dismissal on December
21, 2018 (ECF No. 5), based on Applicant’s voluntary dismissal of this action. This
case is closed.

       Applicant mailed this filing to U.S. Magistrate Judge Gordon P. Gallagher in
Grand Junction, Colorado. (See ECF No. 6 at 11). This is not the proper procedure.
Litigants must mail filings only to the Clerk of Court’s Office at the following address.
Legal correspondence sent elsewhere will be disregarded.

                                     Clerk of the Court
                         Alfred A. Arraj United States Courthouse
                               901 19th Street, Room A105
                                 Denver, CO 80294-3589

       DATED: January 2, 2019




1
 "(ECF No. 6)" identifies the docket number assigned to a specific paper by the court's case
management and electronic case filing system (CM/ECF). This manner of identifying a
document on the electronic docket is used throughout this order.
